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:N THE UNITED sTATEs DIsTRICT COURT Fn_ED 55
FoR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIvIsION

 

 

U'Nl"I‘ED S'I`ATES OF AMERICA

Plaintiff,

 

v. Criminal No. - Ml

l (BO-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The ease is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation Calendar With the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 2005.

Thls document entered cm the dockets et?irl compliance
with Flule 55 and/or 32(b} FHGrP on §§ d g[ 11 45

 

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so ORDERED this 27th day of May, 2005.

ma wl

JO PHIPPS MCCALLA
I'I`ED STATES DISTRICT JUDGE

 

 

Assistant United States Attorney

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CR-20244 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

David Pritchard

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Honorable Jon McCalla
US DISTRICT COURT

